                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

In re:                                           Case No. 23-43403-mlo

Ark Laboratory, LLC,                             Chapter 11

                            Debtor.              Hon. Maria L. Oxholm




   STIPULATION TO ENTRY OF FINAL ORDER AUTHORIZING USE OF
    CASH COLLATERAL AND GRANTING ADEQUATE PROTECTION

         Ark Laboratory, LLC (“Debtor”), Auxo Investment Partners, LLC, as

  successor and assignee of Comerica Bank and The Peninsula Fund VII Limited

  Partnership (“Auxo”), the Official Committee of Unsecured Creditors (the

  “Committee”), the U.S. Trustee (“U.S. Trustee”) and McLaren Medical Laboratory

  (“McLaren”) stipulate to entry of the Final Order Authorizing Use of Cash

  Collateral and Granting Adequate Protection (“the “Final Order”) in the form

  attached as Exhibit A.




   23-43403-mlo   Doc 138     Filed 06/08/23   Entered 06/08/23 14:38:52   Page 1 of 26
Dated: June 8, 2023           /s/ Robert N. Bassel
                               Robert N. Bassel (P48420)
                               P.O. Box T
                               Clinton, Michigan 49236
                               (248) 677-1234
                               bbassel@gmail.com

                               Counsel for Debtor

                                TAFT STETTINIUS & HOLLISTER LLP

                                By: /s/Judith Greenstone Miller
                                       Judith Greenstone Miller (P29208)
                                       Kimberly Ross Clayton (P69804)
                                27777 Franklin, Suite 2500
                                Southfield, MI 48034
                                (248) 351-3000
                                jgmiller@taftlaw.com
                                kclayson@taftlaw.com

                                Counsel to the Committee


                                ANDREW R. VARA
                                UNITED STATES TRUSTEE

                                By: /s/Ronna G. Jackson
                                Trial Attorney
                                Office of the U.S. Trustee
                                211 West Fort Street, Suite 700
                                Detroit, MI 48226
                                (313) 226-7934
                                Ronna.G.Jackson@usdoj.gov




23-43403-mlo   Doc 138   Filed 06/08/23   Entered 06/08/23 14:38:52   Page 2 of 26
                                MADDIN, HAUSER, ROTH & HELLER,
                                P.C.

                                By: /s/Julie Beth Teicher
                                     Julie Beth Teicher (P34300)
                                     David M. Eisenberg (P68678)
                                Attorneys for McLaren Medical Laboratory
                                28400 Northwestern Hwy., 2nd Floor
                                Southfield, MI 48034
                                (248) 354-4030
                                jteicher@maddinhauser.com
                                deisenberg@maddinhauser.com

                                MILLER JOHNSON

                                By:/s/ Robert D. Wolford_________
                                    Robert D. Wolford (P62595)
                                Attorneys for Auxo Investment Partners, LLC
                                45 Ottawa Ave. SW, Suite 1100
                                Grand Rapids MI 49503
                                (616) 516-6988
                                 wolfordr@millerjohnson.com

                                 Counsel to Auxo




23-43403-mlo   Doc 138   Filed 06/08/23   Entered 06/08/23 14:38:52   Page 3 of 26
                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In re:                                           Case No. 23-43403-mlo

Ark Laboratory, LLC,                             Chapter 11

                            Debtor.              Hon. Maria L. Oxholm



                        STIPULATED FINAL ORDER
                  AUTHORIZING USE OF CASH COLLATERAL
                  AND GRANTING ADEQUATE PROTECTION

         This matter having come before the Court upon the Stipulation to Entry of

  Final Order Authorizing Use of Cash Collateral and Granting Adequate Protection,

  and various Stipulations to Entry of Interim Order Authorizing Use of Cash

  Collateral and Granting Adequate Protection, (the “Stipulation”), objections

  regarding entry of the Interim Cash Collateral Order having been filed by the

  Official Committee of Unsecured Creditors (the “Committee”), the Office of the

  U.S. Trustee (“U.S. Trustee”) and McLaren Medical Laboratory (“McLaren”)

  (collectively, the “Objections”), the Court having reviewed the Stipulation and

  having heard the statements of counsel in support of the relief requested and any

  objections and any evidence offered; and the Court being fully advised in the

  premises;

         THE COURT FINDS THAT:


   23-43403-mlo   Doc 138     Filed 06/08/23   Entered 06/08/23 14:38:52   Page 4 of 26
      A.     Ark Laboratory LLC (“Debtor”) filed a voluntary petition for relief

under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. § 101, et seq.

(“Bankruptcy Code”) on April 12, 2023 (“Petition Date”).

      B.     This Order resolves the Objections.

      C.     Without    limitation,   Debtor      is   indebted to Comerica Bank

(“Comerica”) under a certain Master Revolving Note executed by Debtor to the

order of Comerica on February 28, 2022 in the original principal amount of

$6,750,000     (as amended, the “Prepetition Revolving Note”). Without limitation,

the indebtedness under the Prepetition Revolving Note as of the Petition Date

includes principal of $6,376,908.51, interest of $23,360.32, plus accrued and

accruing interest, costs, fees and expenses,

      D.     The liabilities evidenced by the Prepetition Revolving Note and the

other loan and collateral documents, including interest, costs, fees and expenses,

are identified as the “Prepetition Indebtedness.”

      E.     Under a Guaranty dated June 4, 2022 (the “Guaranty”), James Grossi

(“Guarantor”) guaranteed a portion of the Prepetition Indebtedness, limited to the

principal sum of $500,000 “plus interest on that amount and all costs and expenses

(including reasonable attorneys’ fees) incurred by [Comerica] in enforcing [the]

Guaranty or in collecting the Indebtedness [(as defined in the Guaranty)].”




23-43403-mlo     Doc 138   Filed 06/08/23      Entered 06/08/23 14:38:52   Page 5 of 26
      F.     The documents, instruments and agreements executed in connection

with the prepetition financing arrangements from Comerica to Debtor and

Guarantor are identified collectively as the “Prepetition Loan Documents.”

Capitalized terms not defined in this Order shall have the meanings set forth in the

Prepetition Loan Documents.

      G.     The Prepetition Indebtedness is secured by all assets of Debtor,

including without limitation: (a) existing and future accounts, chattel paper,

contract rights, deposit accounts, general intangibles, instruments, documents,

software, rights to payment evidenced by chattel paper, documents or instruments,

commercial tort claims, letters of credit, letter of credit rights, supporting

obligations and rights to payment for money or funds advanced or sold; (b)

presently owned and hereafter acquired inventory; (c) presently owned and

hereafter acquired investment property; (d) presently owned and hereafter acquired

property in possession or control of Comerica    ; (e) presently owned and hereafter

acquired machinery, equipment, furniture, fixtures, tools, parts and accessories, and

all proceeds and products of and accessions to all of the foregoing (collectively,

“Prepetition Collateral”), all as more particularly described in the Security

Agreement (All Assets) executed by Debtor in favor of Comerica          dated January

19, 2021 (“Security Agreement”).




23-43403-mlo    Doc 138    Filed 06/08/23   Entered 06/08/23 14:38:52   Page 6 of 26
      H.    Comerica’s security interest in the Prepetition Collateral (the

“Comerica Prepetition Liens”) is valid, perfected, first in priority and unavoidable

and the Prepetition Indebtedness is a valid, binding and unavoidable obligation of

Debtor and Guarantor and there are no setoffs, counterclaims or defenses to the

Prepetition Indebtedness.

      I.    In addition to the Prepetition Indebtedness, Debtor is obligated to The

Peninsula Fund VII Limited Partnership (“Peninsula”) under a certain Note

Purchase Agreement and other loan and collateral documents (“Subordinate Loan

Documents”). The liabilities evidenced by the Subordinate Loan Documents,

including interest, costs, fees and expenses, are identified as the “Subordinate

Debt”.

      J.    Under a Senior Subordination Agreement dated January 19, 2021 (as

amended, “Senior Subordination Agreement”), subject to the terms therein,

Comerica’s security interest in the Prepetition Collateral is senior to the

Subordinate Lender’s security interest in the same (the “Peninsula Prepetition

Liens”, and together with the Comerica Prepetition Liens, the “Prepetition Liens”).

      K.    Under a Merchant Cash Advance Agreement dated March 10, 2023

(“MCA Agreement”), Diesel Funding LLC (“Diesel”) advanced funds to Debtor

characterized as a purchase from Debtor of certain future receivables.




23-43403-mlo    Doc 138     Filed 06/08/23   Entered 06/08/23 14:38:52   Page 7 of 26
         L.      Auxo Investment Partners, LLC (“Auxo”) acquired by purchase and

assignment on June 2, 2023 as the successor in interest to the Prepetition

Indebtedness owed by the Debtor to (i) Comerica under the Prepetition Loan

Documents and (ii) Peninsula under the Subordinate Loan Documents.

         M.      In order for Debtor to continue to operate its business, and preserve its

goodwill and going concern value, it is necessary for Debtor to use cash collateral

to enable it to pay normal operating expenses (including, without limitation, wages,

salaries, insurance premiums, utilities, rent and taxes) and to purchase inventory

and supplies, and pay accruing administrative expenses.

         N.      Debtor has not been, and will continue to be unable, in the ordinary

course of business or otherwise, to obtain unsecured credit under § 503(b)(1) of the

Bankruptcy Code and needs use of cash collateral in order to continue its

operations. The parties with an interest in cash collateral are willing to permit use

of cash collateral by Debtor under § 363 of the Bankruptcy Code, subject to the

terms of this Order.

         Upon consideration of the above findings, which are incorporated into this

Order, it is ORDERED:

         1.      Debtor is authorized to use cash collateral, subject to the terms of this

Order.        The use of cash collateral will be governed by the Prepetition Loan

Documents (which shall include but shall not be limited to the following


23-43403-mlo        Doc 138    Filed 06/08/23   Entered 06/08/23 14:38:52   Page 8 of 26
documents: the Prepetition Revolving Note, the Guaranty, the Security Agreement,

the Forbearance Agreement dated January 17, 2023 among Debtor, Guarantor and

Comerica (the “Forbearance Agreement”) and all other Prepetition Loan

Documents), now held by Auxo, subject to the following modifications:

            (a)     Debtor may use cash collateral to fund payment of expenses as

and when budgeted, with a variance of up to 10% per line item allowed, provided

the aggregate cumulative amount of expenditures does not exceed the aggregate

budget, in the budget [filed on June 8, 2023 as an Exhibit to Docket No. ____]

(“Final Budget”).     Debtor will continue to maintain its Debtor-in-Possession

account (collectively, the “Cash Collateral Account”) at Comerica and Debtor may

use ACH (provided that all ACH transactions are pre-funded) to make payments of

budgeted expenses and shall have online access to view the account and process

the ACH payments, and Comerica shall allow Debtor to deposit funds received

electronically through Comerica. Collections received in the form of physical

checks shall be deposited at Comerica through a branch; the Business Deposit

Capture (BDC) treasury management service at Comerica shall no longer be

available to Debtor. By the earliest of (a) confirmation of a Chapter 11 plan, (b)

conversion of Debtor’s case to Chapter 7, or (c) 60 days after entry of this Order,

Debtor shall close its bank accounts maintained at Comerica and, if applicable,

open a Debtor-in-Possession account at another approved financial institution.


23-43403-mlo      Doc 138   Filed 06/08/23   Entered 06/08/23 14:38:52   Page 9 of 26
            (b)     Debtor’s use of cash collateral for any particular line item in the

Budget may not exceed the cumulative budgeted amount set forth in such line item.

Debtor shall not use cash collateral except as provided in this Order. Debtor shall

supply Auxo, the U.S. Trustee, the Committee and McLaren with an updated

Budget, and a reconciliation of postpetition performance to the Budget, not less

often than once every week. If approved by Auxo, the U.S. Trustee, the Committee

and McLaren in writing, Debtor’s updated Budget shall become the “Budget”

under this Order.

            (c)     Debtor’s ability to use cash collateral under this Order shall

terminate on an uncured default by Debtor as described below (“Termination

Date”), unless the Termination Date is extended by written stipulation of Auxo and

Debtor.

            (d)     Interest on the Prepetition Revolving Note shall continue to

accrue at the non-default rate specified in the Prepetition Loan Documents.

            (e)     Debtor shall supply financial information and information

relating to the collateral as required by the Prepetition Loan Documents and at the

request of Auxo, the U.S. Trustee, and the Committee. Without limitation, Debtor

shall deliver to Auxo, the U.S. Trustee and the Committee: (i) the information and

reports required under the Forbearance Agreement and other Loan Documents; (ii)

as and when filed, all reports and other documents and pleadings filed by Debtor


23-43403-mlo      Doc 138   Filed 06/08/23   Entered 06/08/23 14:38:52   Page 10 of 26
with the Bankruptcy Court or the Office of the U.S. Trustee; (iii) a weekly cash

flow statement and integrated projections, comparing actual receipts and

disbursements to the projected receipts and disbursements set forth in the Budget;

and (iv) on a weekly basis a report on Debtor’s “Ending Supplies” and “Ending

A/R” (as shown on Debtor’s Weekly Cash Flow Forecast prepared on April 13,

2023).

             (f)     All cash and cash equivalents which are now in or hereafter

come into Debtor’s possession shall be deposited in the Cash Collateral Account.

             (g)     Guarantor ratifies and affirms his Guaranty.

             (h)     It is a default under this Order if as of the end of any week, the

sum of (i) Debtor’s cash on deposit in the Cash Collateral Account at Comerica,

plus (ii) an amount equal to the lesser of (A) the amount of Debtor’s “Ending

Supplies'' or (B) $581,698, plus (iii) the amount of Debtor’s “Ending A/R” is less

than the sum of (x) the amount of Debtor’s cash as of the Petition Date, plus (y) the

amount of Debtor’s “Ending Supplies” as of the Petition Date, plus (z) the amount

of Debtor’s “Ending A/R” as of the Petition Date. For purposes of this covenant,

in order to be consistent with the figure used to calculate “Ending A/R” as of the

Petition Date, the expected collectible percentage of Debtor’s accounts receivable

used in calculating the “Ending A/R” as of any particular week subsequent to the

Petition Date shall not be greater than 46%.


23-43403-mlo       Doc 138   Filed 06/08/23   Entered 06/08/23 14:38:52   Page 11 of 26
             (i)     In the Forbearance Agreement, “Borrower is not required to

deliver a Covenant Compliance Report for the quarter ending December 31, 2022”

and shall continue to not have to deliver a Covenant Compliance Report pending

further agreement between the parties. Moreover, through the Cash Collateral

Period, Debtor shall not be required to comply with the following financial

covenants set forth in the Prepetition Loan Documents: (i) Interest Coverage Ratio;

(ii) Fixed Charge Coverage Ratio; (iii) Senior Debt to EBITDA Ratio; and (iv)

Total Debt to EBITDA Ratio.

      2.     As adequate protection under § 363 of the Bankruptcy Code for

Debtor’s use of cash collateral and any diminution in value in other collateral to the

extent of any diminution in the value of interest in Auxo’s Prepetition Collateral,

Auxo is granted a continuing and replacement security interest and lien to the same

extent, validity and priority as existed on the Petition Date in all of the property of

Debtor (collectively, the “Postpetition Collateral” and identified together with the

Prepetition Collateral as the “Collateral”), including without limitation: (a) all of

the following, whether now owned or existing or hereafter created or acquired,

wherever located, together with all additions and accessions and all proceeds and

products thereof: all accounts, accounts receivable, instruments, documents, drafts,

notes, acceptances, chattel paper, general intangibles (including, without limitation,

all goodwill, copyrights, patents, trademarks, trade names and franchises),


23-43403-mlo       Doc 138   Filed 06/08/23   Entered 06/08/23 14:38:52   Page 12 of 26
software, contract rights, rights to payment evidenced by chattel paper, documents

or instruments, deposit accounts, rights to payment for money or funds advanced or

sold, causes of action, choses in action, commercial tort claims, letters of credit,

letter of credit rights, supporting obligations, investment property or other property

in possession or control of Auxo, all personal property received as returns and

repossessions, all other forms of receivables, tax refunds of any form, all inventory,

including all goods held for sale and documents evidencing inventory, all

equipment (together with spare and repair parts, special tools and equipment and

replacements), the proceeds of credit and other forms of insurance coverage of any

of the foregoing and all books and records pertaining to all of the foregoing; and

(b) all interests in real property and fixtures; provided, however, that if Debtor’s

interest in any of the foregoing property as of the Petition Date was encumbered by

a valid, binding and unavoidable lien senior to the prepetition lien held by Auxo,

the lien on that property granted to Auxo under this Order shall be junior to such

existing senior lien only (the “Postpetition Liens”); provided, however, claims

under the avoidance provisions of §§ 544, 547, 548, 549 and 550 of the

Bankruptcy Code (the “Chapter 5 Causes of Action”) shall not be subject be part of

the Collateral or otherwise subject to the Prepetition Liens or Postpetition Liens of

Auxo.




23-43403-mlo    Doc 138    Filed 06/08/23   Entered 06/08/23 14:38:52   Page 13 of 26
        3.   As adequate protection under § 363 of the Bankruptcy Code for

Debtor’s use of cash collateral and any diminution in value in other collateral to the

extent of any diminution in the value of Peninsula’s interest in its collateral, Auxo

is granted a continuing and replacement security interest and lien in all of the

Collateral to the same extent, validity and priority as existed on the Petition Date,

provided, however, the Chapter 5 Causes of Action shall not be subject be part of

the Collateral or otherwise subject to the Prepetition Lien or Postpetition Liens of

Auxo.

        4.   As adequate protection under § 363 of the Bankruptcy Code for

Debtor’s use of cash collateral and any diminution in value in other collateral, to

the extent of any diminution in the value of Diesel’s interest in its collateral, Diesel

is granted a continuing and replacement security interest in all of Debtor’s accounts

receivable to the same extent, validity and priority as existed on the Petition Date;

provided, however, Diesel’s interest in Debtor’s accounts receivable under this

Order is junior to the liens and interests of Auxo; and provided, further, the Debtor

and the Committee reserve the right to object to Diesel’s asserted secured claim in

the Debtor’s accounts receivable.

        5.   Auxo reserves the right in the event that the adequate protection

provided to Auxo is insufficient to protect Auxo for Debtor’s use of cash collateral

or for a diminution in value of Auxo’s other collateral, then to the extent that the


23-43403-mlo    Doc 138    Filed 06/08/23   Entered 06/08/23 14:38:52    Page 14 of 26
automatic stay of § 362 of the Bankruptcy Code or Debtor’s use of cash collateral

or Auxo’s other collateral results in any diminution in the value of Auxo’s interest

in Auxo’s Prepetition Collateral, to seek to allow Auxo’s claim to have priority

under § 507(b) of the Bankruptcy Code over all administrative expenses incurred

in this Chapter 11 proceeding of the kind specified in § 503(b) of the Bankruptcy

Code, other than unpaid, budgeted administrative expenses, professional fees, and

United States Trustee quarterly fees and paid administrative expenses, professional

fees, and United States Trustee quarterly fees. Auxo also reserves the right in the

event that the adequate protection provided to Auxo under the Subordinate Lender

Documents is insufficient to protect Auxo for Debtor’s use of cash collateral or for

a diminution in value of Auxo’s other collateral, then to the extent that the

automatic stay of § 362 of the Bankruptcy Code or Debtor’s use of cash collateral

or Auxo’s other collateral results in any diminution in the value of Auxo’s interest

in its collateral, to seek to allow Auxo’s claim to have priority under § 507(b) of

the Bankruptcy Code over all administrative expenses incurred in this Chapter 11

proceeding of the kind specified in § 503(b) of the Bankruptcy Code, other than

budgeted and paid administrative expenses, professional fees, and United States

Trustee quarterly fees (but junior to any claim of Auxo, including any § 507(b)

claim of Auxo, and in all respects subject to the Senior Subordination Agreement).

The foregoing provision shall not restrict nor provide for disgorgement of Debtor’s


23-43403-mlo   Doc 138    Filed 06/08/23   Entered 06/08/23 14:38:52   Page 15 of 26
payment of administrative expenses, including professional fees, to the extent such

expenses are provided for in the Budget and a written notice of default have been

tendered by Auxo, as provided for under Paragraph 15 of this Order.

      6.    The security interest and lien granted to Auxo under this Order shall

be evidenced by the entry of this Order, and except as otherwise provided herein,

shall be deemed to be first, valid and perfected as against all third parties upon

entry of this Order, without regard to applicable federal, state or local filing and

recording statutes, as of the Petition Date, provided, however, that Auxo may take

such steps as it deems appropriate to comply with such recording statutes and

Debtor shall execute and deliver such additional documents and shall take any and

all additional action to comply with such recording statutes as Auxo may request.

At Auxo’s discretion, it may attach this Order to financing statements bearing

Debtor’s name as the debtor and file them with any state or local office to further

evidence the liens granted hereby without the signature of Debtor.

      7.    Subject to 11 U.S.C. § 506, Auxo’s secured claim shall include all

reasonable fees and out-of-pocket disbursements incurred by Auxo, in any way

arising from or in connection with this Order, including, without limitation, the

reasonable fees of counsel for Auxo for the preparation, examination and approval

of this Order, for the payment of all fees and out-of-pocket disbursements incurred

by Auxo, including reasonable attorney fees or consultant fees incurred by Auxo,


23-43403-mlo   Doc 138    Filed 06/08/23   Entered 06/08/23 14:38:52   Page 16 of 26
in any way arising from or in connection with any action taken by Auxo to

monitor, advise, enforce or collect the Prepetition Indebtedness, or enforce any

obligations of Debtor under this Order, the Prepetition Loan Documents or any

other document or agreement arising from or relating to the business relationship

between Auxo and Debtor, including any actions to lift the automatic stay or

otherwise in any way participate in this bankruptcy proceeding. Subject to 11

U.S.C. § 506, Auxo’s secured claim shall also include such fees and disbursements

of Auxo for any defense of any litigation instituted by Debtor, Guarantor or any

third party against Auxo arising from or relating to the Prepetition Indebtedness,

this Order, the Prepetition Loan Documents or the business relationship among

Debtor, Guarantor, or any of them, and Auxo. Payment of such fees and expenses

shall be made pursuant to line items in the Budget, upon stipulation of Debtor,

Auxo, the Committee and the U.S. Trustee or upon further Court order.

      8.    The terms of this Order constitute a “finding of fact” as to the

“adequate protection necessary” for Debtor’s use of both cash and non-cash

Prepetition Collateral of Auxo under § 363 of the Bankruptcy Code. This Order is

in lieu of all further hearings on the issue of adequate protection with respect to

Auxo. The Court also finds that Auxo is acting in good faith.

      9.    In consideration for the agreement of Auxo to entry of this Order, and

the agreements of Peninsula and Comerica to sell their loans to Auxo, Debtor and


23-43403-mlo   Doc 138    Filed 06/08/23   Entered 06/08/23 14:38:52   Page 17 of 26
Guarantor (each, a “Releasing Party”) fully and forever remise, release and

discharge Auxo, Peninsula and Comerica, and each and all of their respective

parent, subsidiary and affiliated corporations, companies and divisions together

with its or their respective predecessors, successors and assigns, and each and all of

their respective directors, officers, employees, attorneys, accountants, consultants

and other agents (collectively, “Releasees”), of and from any and all claims,

demands, agreements, contracts, covenants, actions, suits, causes of action,

obligations, controversies, costs, expenses, accounts, damages, judgments, losses,

liabilities and defenses, of whatsoever kind or nature, in law, equity or otherwise,

whether known or unknown, whether concealed or hidden, which any Releasing

Party has had, may have had or now has, or which any of its predecessors,

successors or assigns hereafter can, shall or may have, for or by reason of any

matter, cause or thing whatsoever, whenever arising, to and including the date this

Order is entered, concerning (a) claims arising from or in any way related to this

Order, the Prepetition Indebtedness, the Prepetition Loan Documents or the

business relationship among Debtor, Guarantor and Auxo or Comerica or

Peninsula, and (b) claims under the avoidance provisions of §§ 544, 547, 548, 549

and 550 of the Bankruptcy Code that exist as of the date of the entry of this Order.

Debtor and Guarantor admit that they have no defenses, offsets or counterclaims

with respect to the payment of any sum owing to Auxo, with respect to the validity


23-43403-mlo    Doc 138    Filed 06/08/23   Entered 06/08/23 14:38:52   Page 18 of 26
or enforceability of the Prepetition Loan Documents, or with respect to the

Prepetition Indebtedness as of the date of the entry of this Order. In addition,

Debtor and Guarantor irrevocably waive any right, without the prior written

consent of Auxo, (a) to grant or impose, under § 364 of the Bankruptcy Code or

otherwise, liens or security interests in any Collateral, whether senior, equal or

subordinate to Auxo’s liens and security interests; (b) or to modify or affect any of

the rights of Auxo under this Order or the Prepetition Loan Documents by any plan

of reorganization confirmed in these cases or subsequent Order entered in these

cases.

         10.   Defaults have occurred under the Prepetition Loan Documents.

Except as provided under this Order, Debtor and Guarantor, to the fullest extent

allowed under applicable law, waive all notices that Auxo might be required to

give but for this waiver, including any notices otherwise required under Section 6

of Article 9 of the Uniform Commercial Code as enacted in the State of Michigan

or other relevant state (the “UCC”) concerning the Collateral. Furthermore, Debtor

and Guarantor waive (a) the right to notification of disposition of the Collateral

under § 9-611 of the UCC, (b) the right to require disposition of the Collateral

under § 9-620(e) of the UCC and (c) all rights to redeem any of the Collateral

under § 9-623 of the UCC.




23-43403-mlo     Doc 138   Filed 06/08/23   Entered 06/08/23 14:38:52   Page 19 of 26
      11.    Debtor shall keep the Collateral maintained by sufficient insurance

coverage reasonably acceptable to Auxo, with Auxo named as the mortgagee, loss

payee and/or additional insured on all such policies.

      12.    Debtor shall provide Auxo, the Committee and the U.S. Trustee, and

their respective attorneys, accountants, employees and agents with access to

Debtor’s books and records for the purpose of audit, examination and inspection

thereof, and observation of Debtor’s operations, and shall provide all reasonable

information and documents requested by Auxo, the Committee and the U.S.

Trustee, and their designated agents, subject to any applicable privileges. Auxo,

the Committee and the U.S. Trustee, and their respective attorneys, accountants,

employees and agents shall have the right to enter Debtor’s business premises

during reasonable business hours for the purpose of examining and appraising

Auxo’s Collateral. Subject to 11 U.S.C. § 506, Auxo’s secured claim shall include

the reasonable costs of any audit requested or performed by Auxo.

      13.    The covenants and other terms of this Order in favor of Auxo are for

the sole benefit of Auxo; Auxo, in its sole discretion, may in writing waive any

such covenant or term.

      14.    In the event that Debtor defaults in performance of any of its

obligations under this Order or under the Prepetition Loan Documents (excluding

existing defaults under the Prepetition Loan Documents) of which Auxo has been


23-43403-mlo    Doc 138   Filed 06/08/23   Entered 06/08/23 14:38:52   Page 20 of 26
notified in writing, or upon the entry of an order dismissing this case, appointing a

trustee in this case, converting this case to a case under Chapter 7 of the

Bankruptcy Code, or transferring the venue of this case to another district, Debtor’s

right to use cash collateral under this Order and the Prepetition Loan Documents

shall terminate, Debtor shall segregate and account for all cash collateral then in its

possession or control, and Auxo shall have the right to apply for relief from the

stay under § 362 of the Bankruptcy Code; provided, however, Auxo shall provide

Debtor, with a copy to the Committee, with two (2) business days’ notice of default

in writing and the opportunity to cure such default prior to seeking relief from the

stay under § 362 of the Bankruptcy Code. Any such application by Auxo may be

scheduled for an expedited hearing on two (2) business days’ notice without

objection by any of the parties who stipulated to entry of this Order (or as soon

thereafter as practicable, depending on the Court’s schedule and availability) and at

such hearing, Debtor shall have the right to contest the existence of a default.

      15.    The Prepetition Liens, the Postpetition Liens and the adequate

protection granted to Auxo under this Order shall, in any event, in all cases be

subject and subordinate to a carve-out (the “Carve-Out”), which shall be comprised

of the following: (i) all fees required to be paid to the Clerk of the Court and to the

U.S. Trustee pursuant to 28 U.S.C. § 1930(a) (which will be paid in full and not be

subject to distribution pari passu with administrative expenses), (ii) subject in all


23-43403-mlo    Doc 138    Filed 06/08/23   Entered 06/08/23 14:38:52   Page 21 of 26
cases to the limitations set forth in the Prepetition Loan Documents and to Court

approval, the sum of (A) and (B), where (A) is the aggregate amount of the

Debtor’s professional fees and disbursements which have been incurred, accrued,

or invoiced (but remain unpaid) prior to the date on which Auxo provides written

notice that an Event of Default has occurred and has triggered the Carve-Out (a

“Carve Out Trigger Notice”) for any professional retained by an order of the Court

under Sections 327 or 328 of the Bankruptcy Code, and (B) is the aggregate

amount of fees and disbursements of the Debtors’ retained professionals accrued

after delivery of the Carve Out Trigger Notice, up to $150,000.00 (which will be

paid in full and not be subject to distribution pari passu with administrative

expenses), and (iii) subject in all cases to the limitations set forth in the Prepetition

Loan Documents and to Court approval, the sum of (C) and (D), where (C) is the

aggregate amount, of the Committee’s professional fees and disbursements which

have been budgeted and incurred, accrued or invoiced (but remain unpaid) prior to

the receipt by the Committee of a Carve Out Trigger Notice for any professional

retained by an order of the Court under Section 1102 of the Bankruptcy Code, and

(D) is the aggregate amount of fees and disbursements of any Committee’s retained

professionals budgeted or accrued after delivery of the Carve Out Trigger Notice,

up to $150,000 (which will be paid in full and not be subject to distribution pari

passu with administrative expenses). The Carve Out granted hereunder (i) covers


23-43403-mlo    Doc 138    Filed 06/08/23    Entered 06/08/23 14:38:52    Page 22 of 26
all Collateral, including prepetition, postpetition and post-conversion, (ii)

subordinates Auxo’s liens to the professional fees of Debtor and the Committee

awarded at any time by the Court, and (iii) survive conversion of this case to

chapter 7.     The Carve Out shall be paid to Debtor’s professionals and the

Committee’s professionals.       Notwithstanding the foregoing, so long as a Carve

Out Trigger Notice has not been provided, Debtor is permitted to pay, subject to

and in accordance with the Budget, administrative expenses allowed and payable

under sections 330 and 331 of the Bankruptcy Code, as the same may become due

and payable. At closing of the sale of substantially all of the assets of Debtor,

Auxo shall pay the remaining amount of the Carve Out due to the Debtor

professionals and the Committee professionals. All Carve Out amounts paid for

fees required to be paid to the Clerk of the Court and to the U.S. Trustee pursuant

to 28 U.S.C. § 1930(a) (which will be paid in full), and for approved fees and

expenses of the Debtor professionals and the Committee professionals shall be held

in a segregated DIP account to be opened by Debtor within 7 business days of

entry of this Order and for which Debtor’s Financial Advisor Russell Long will be

made an additional signatory (the “DIP Professionals Account”), pending

application to and approval of their fees by the Court under the Bankruptcy Code

and the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). In the

event of a liquidation of the Debtor estate other than by a sale of substantially all of


23-43403-mlo    Doc 138    Filed 06/08/23   Entered 06/08/23 14:38:52    Page 23 of 26
the assets of Debtor, an amount equal to the Carve-Out shall be reserved from the

proceeds of such liquidation, or from the proceeds of Auxo’s collateral, with such

proceeds or cash to be held in the DIP Professionals Account, prior to the making

of any distributions. All distributions and withdrawals from the DIP Professionals

Account shall require 2 signatures.

      16.    Notwithstanding anything in this Order to the contrary, to the extent

that there are items set forth in the Budget from the furnishing of goods or services

to the Debtor prior to the date substantially all of Debtor’s assets are sold or this

case is converted to a Chapter 7 proceeding (other than professional fees addressed

in paragraph 16, above) which have not been paid as of such date, Auxo shall fund

such budgeted amounts to pay such incurred claims such that all budgeted, allowed

Chapter 11 administrative claims are paid in full.

      17.    The Budget provides that McLaren shall receive a weekly payment of

$13,035 per week, which shall be allocated as follows: (i) up to $7500 to be

applied to current, weekly laboratory fees, which weekly laboratory services shall

not exceed fees of $7,500 per week, and (ii) the balance shall be applied to the

accrued but unpaid postpetition laboratory fees owed to McLaren. In the event

Debtor determines that it needs to contract with McLaren for an amount greater

than $7,500 in any given week, Debtor may do so, provided that such additional

amount is paid by the following week, in addition to the presently weekly


23-43403-mlo    Doc 138   Filed 06/08/23   Entered 06/08/23 14:38:52   Page 24 of 26
budgeted amount of $13,035. In the event this budgeted amount does not satisfy

the Debtor’s post-petition accrued administrative expenses to McLaren, Auxo

agrees to satisfy any unpaid amount in accordance with paragraph 16 of this Order,

as if same were specifically budgeted.

      18.    The provisions of this Order, which shall be immediately effective

upon entry, and any actions taken under this Order, shall survive entry of, and shall

govern with respect to, any conflict with any order which may be entered

subsequently, and the terms and provisions of this Order, as well as the liens and

security interests under the Prepetition Loan Documents, this Order, and all rights

of Auxo and obligations of Debtor created or arising under this Order, shall

continue in these proceedings or any superseding proceedings under the Code, and

such liens and security interests shall maintain their priority as provided by this

Order until satisfied and discharged. If any or all of the provisions of this Order are

hereafter modified, vacated or stayed by subsequent order of this or any other

court, such stay, modification or vacation shall not affect: (a) the validity of any

adequate protection granted to Auxo under this Order; (b) the validity and

enforceability of any lien or priority authorized for the benefit of Auxo; or (c) the

conduct of Auxo with respect to the rights granted to Auxo in this Order prior to

the effective date of such stay, modification or vacation, and notwithstanding such

stay, modification or vacation, such adequate protection, liens and rights shall be


23-43403-mlo    Doc 138    Filed 06/08/23   Entered 06/08/23 14:38:52   Page 25 of 26
governed in all respects by the original provisions of this Order and Auxo shall be

entitled to all those rights, privileges and benefits.

      19.    Debtor shall serve a copy of this Order and the Stipulation within 24

hours after entry of this Order under Bankruptcy Rule 4001(d) and Local

Bankruptcy Rule (EDM) 4001-2.




23-43403-mlo     Doc 138    Filed 06/08/23   Entered 06/08/23 14:38:52   Page 26 of 26
